
433 So.2d 164 (1983)
AMOCO PRODUCTION COMPANY, Columbia Gas Development Corporation, Energy Ventures, Inc., Columbia Gulf Transmission Company, Diamond Shamrock Corp., Cabot Corp., Northern Michigan Exploration Co., Sun Oil Company and Sun Pipe Line Company
v.
Paul L. LANDRY, Executive Secretary of the Louisiana Board of Professional Engineers and Land Surveyors.
No. 83-C-0695.
Supreme Court of Louisiana.
May 13, 1983.
Denied.
DENNIS, BLANCHE, and LEMMON, JJ., would grant the writ.
